B6 Summary                               (Ofﬁcial              Form    6   -       Summary) (12/O7)



                                                                                                    United States Bankruptcy Court
                                 ./>7\
                         .



                                                                                                                                  District of            Arizona


In
                                                                                                                                                                            Case No. Q~_,_I_3_*
                                                                                                                                                                                                 ‘t
                                                                                                                                                                                                              "l0k"l¢25<;5                                                      -       ese
                                                                                    D        btor
                                                                                                                                                                            Chapter      _   13>‘,
                                                                                                                      Ult/EM    ARY OF SCHEDULES
                                                                                                                                                                   F, L
                                                        is attached and state the number
                                                                                             of p a g es in eac‘h. Report the totals from Schedules A, B, D, E,
                                                                                                                                                                                 '




lndicate as to each so hedule wliethe r that schedule                                                      amount   0       debtor ’s assets. Add the amounts of all
                                                          Schedules A and B to determine the                          f the
                                                                                                                                                            '

                                                                                                    total
and J in the box es provide d Add the am ounts from
                                                                                     V




                     '




                                                                                                                              also must c omplcte the “Statistical
                                                                                                                                                *
                                                  'ne the tota l a mount of the debtor’s liabilities. lndividual de btors
                                                                               .                                                                                                     i




claims from Schedules D,
         '


                             E,  an d F to determi
                                                     a"          ﬁle a case under chapter 7, l 1 or 13.
      mmaryo f Certain Lia bilities and Related Dat ifthey
                                                           '       '
                                                                                                                                                                        ,

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                                                                                                                 ATTA CHED                                                                                     LIABIL lTlES                                                     OTHE R
                                                                                                                                        N0      OF SHEETS                    ASSETS
    NAME OF SCHEDULE                                                                                    e__,_,.Q’§S”i?’L-__e            ct.
                                                                                                                                           It




                                                                                                                                                                                             O
                                                                                                                                                                    $
                 Real Property
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P
     B       -       Persoiial Property
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     (l      —       l’i'opt-ity                 Claimed                                                     ‘




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i                                                                                                                                                                                                     l




                     H5 11Xcmpt                                                                                                     ‘




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                                                                                                                      Y
                     Creditors Holding                                                                                                                                                                               ¢‘
                                                                                                                                                                                                          it/Q2, 002» tt
             -
     I)
                                             Claims
                                                                                                                                                                                                                                                                                e__
                                         1
                                                               ;
                                                                                                                                                                                                          i
     E - Creditors Holding Unsecurc d
                     Priority Clanns
                                 '
                                                   '




                                                                                                                      Y                                                                                       ’1                  2.00                                                             _
                     (Tu tal oi Claims 0 n Schedule E)
                                             '         '
                                                               \




                                                                                                                                                                                                          $
                     Creditors Holding U nsecured
                             '



     F                                                                                                            ‘    V


                     Nonpriority Claims                                                                                                                                                                                    0oa,1<o/                                             _i



     G           -   Executoiy Contracts and
                     Unexpired Leases


      H. Codebtors



                                                                                                                      y
                     S
      l- Curren tlncome of



                                                                                                                                                                                                                                                                                am 15c
         lndividual Debt0r(s)
                                     _




                                                                                         7
                                                                                               i    f    if
                                                                                                                                                                                                                                                                            $
      J —            Curre nt Expenditures of lndividu al
                                                                                                                      \/                                                                                                                                                7


                                                                                                                                                                                                                                    MY
                     Deb tors(s)                                                                                                                                                                               "W£L:nv;|u'-iB“1'“' '!'.ﬂ:.n1‘ 1--14*“-'M'ﬁ’..‘_‘¥




                                                                                                     TOTAL                                                              *//‘/            35 o                 *l‘7'2
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                                         Case 2:13-bk-16593-PS                                                         Doc 26 Filed 10/22/13 Entered 10/23/13 11:54:39
                                                                                                                                                                ¢                                                                                                               Desc
                                                                                                                        Main Document    Page 1 of 31
                                                                                                    '


Form          (1
                   ~   Statistical   Summary      (I2/07)



                                                                United States Bankruptcy Court
                                                                                                                                                                                                       case NO.                              .a;_5;- bl< ~./1959 5
                                                                                                                                                                                                                                                                                          ~ ss c
in             .._C°£!ies_/so/§sI__.,,-iZe.@_B-woo
               '
                                                     Debtor
         ..

                                                                                                                                                                                                       Chapter                                   )         __

          STATISTICAL                              SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.(:t. § 159)
                                                                                                                                           of the Bankiuptcy Code                                                                                                                             U.S.C.
                                                                           whose debts are primarily consumer debts, as deﬁned in § 101(8)
                                                                                                                                                                                                                                                                                     (1   1

                         If you are an individual debtor
                                                                                                                    requested below.
                                              under chapter               ll or I3, you must report all information
§    101(8)), ﬁling a case                                       7,

                                                                                                                                                                                                                                                     You                                         any
                          U Check      this   box ifyou      are an individual debtor                        whose debts                are              NOT primarily consumer debts.                                                                             are not required to report

information here.


This information                        is    for statistical         purposes only under 28                                  lU.S.tC.                    § I59.

                                                                               the Schedules, and total them.
Summarize                    the following types ofliahilities, as reported in



                                                                                                                                        Amount
     Type of Liability

     Domestic Support Obligations (from Schedule E) 'T"_"'
                                "T"                  T                                                                "
                                                                                                                                        Ti;

                                                                                                                                             '
                                                                                                                                                             OQ
                                                                                                                                                          O.CT”?                          '

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l"‘““_‘"
                                                            Owed
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     Taxes and Certain Other Debts                                        to   Governmental Units
                                                                                                                                ‘




                                                                                                                                        Tli                                       _                    I




A
        (ll"t_)lI1HSCll6tlUlc‘
                                              W    W.            f                 r                     f     ii

        Claims for Death or Personal Injury While Debtor Was
                                                                                                                                        $
                                                           undisputed)

                                                                                                                                                                         O
        Intoxicated (from Schedule E) (whether disputed or

                                                                                                                                         $
        Student Loan Obligations (from Schedule F)
                                                                                                                                    i




        Domestic Support, Separation Agreement, and Divorce Decree
                                                                                                                                         $5

                                                                                                                                                                             /Qt
        Obligations Not Reported on Schedule E

                                                                                                                                         $
        Obligations to Pension or Proﬁt-Sharing, and Other
                                                           Similar
                                                                                                                                                                                      >
                                                                                                                                                                         <
        Obligations (from Schedule F)

                                                                                                               TOTAL                         $           /$’(/'72.? (0                                         i




    State the following:
                                                                                                                                                                                                               ’




    G
         Average Income (from Schedule                          I,   Line 16)
                                                                                           W
                                                                                                                                                 $       Q                                     5       0           1




                       (from Schedule                                J,   Line I8)                                            “A
    “£tverage Expenses                                                                                                    i

                                                                                                        OR, Form
                                                              Form 22A Line
                                                                                                                                                         3 7.} /,0 5
                                                                                           12;                                                   $
         Current Monthly Income (from
                                                                                                                                                                                                           ~




         2713 Line ll;               on, Form 22c           Line 20‘)


    State the following ___                                                            _       _
                                                                                                                    ______V_                                                                       V                   _        _,       ___              __       W
                                                                                                                                                                                          Ml
                                                         “UNSECURED PORTION, IF                                                                                                                                        $
                                                                                                                                                     i


                                                                                                                                                                                                                                     ~   ~


                       Total from Schedule D,
                                                                                                                                                                                                       I;;%};;;

              l.
              ANY” column
                                                                                                                                         "       r




                                                                                                                                                                                          U




                                                         “AMOUNT ENTITLED TO
                                                                                                                                                                                                                                                     ‘~




                       Total from Schedule E,                                                                                                    $
              2.
                                                                                                                                                         W/:,1.v
              3.Total from Schedule E,
              PRIORITY, tr ANY” column
                                                         “AMOUNT NOT ENTITLED T0                                                                                 ‘            ‘




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                                                                 i         y               y
                                                                                                                                                             “




              5.       Total of non-priority unsecured debt                      (sum of           1, 3,     and 4)
                                                                                                                                                                         V
                                                                                                                                                                                                                           $




                          Case 2:13-bk-16593-PS                                            Doc 26 Filed 10/22/13 Entered 10/23/13 11:54:39                                                                                                                                                     Desc
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In re                          ggwf                             A      lQ_   7,3                                                     Case N0. _Q
                                                                                                                                                                 Sﬂgkbnown
                                                                                                                                                                                                            "   STSQ
                           Debtor


                                                  SCHEDULE A REAL PROPERTY             -==




                                                                                                             future interest, including all property owned as a co-
    'Except as directed below, list all real property in which the debtor has any legal, equitable, or
                                                                             Include  any property   in which  the debtor holds rights and powers exercisable for
tenant, community property, or in which the debtor      has  a life estate.
                                                                                                                                                              “H,”
                                                            whether   the  husband,        both,  or the marital community own the property by placing an
the debtor’s own  beneﬁt.  If the debtor  is married, state                          wife,
                                                                                                                                                      “None”
              “C”                                                          Community.”        the debtor  holds  no  interest in real property, write        under
“W,” “J,” or       in the column labeled “Husband, Wife, Joint, or                         If

“Description and Location of Property.”

    Donot include interests in executory contracts and unexpired leases on this schedule.
                                                                                          List                                        them    in   Schedule       G   --
                                                                                                                                                                           Executory Contracts and
Unexpired Leases.

                                                                                                   ofthe secured claim. See Schedule D. lfno entity claims
    Ifan entity claims to have a lien or hold a secured interest in any property, state the amount
to hold a secured interest in the property, write
                                                   “None” in the column labeled    “Amount    of Secured Claim.”


                           an individual or ifajoint petition        ﬁled, state the   amount of any exemption claimed                       in the property      only         in   Schedule   C   -   Property
    lfthe debtor      is                                        is

Claimed   as   Exempt.




               DES(1RII"I‘l()N       AND
                                                                                                  JOINT
                                                                                                                                CURRENT VALUE                                              OF
                                                                                                                                                                                    AlVl()UNT
                  l,OCA'l‘ll(IN     (Ill?                   NA'I‘Ull{E       OF l)EB'I‘()R’S                MUNITY
                                                                                                                                   OF l)EB'l‘OR’S                                    SECURED
                      PlI{0PFlR'Ii‘t/'                     lN'I‘ERES'I IN PROPER'll“Y
                                                                                                  WIFE
                                                                                                                                   INTEREST [N                    y
                                                                                                                                                                                       CI./\llVI
                                                                                                            CO'Yl
                                                                                                                             l’Rt}l’.I<lR'!‘Y, ‘v‘/l’liH()U'I‘
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                                                                                                                                IJEDUCTING ANY
                                                                                                                     1
                                                                                                                                                                  1




                                                                                                            OR
                                                                                                                                SECURED CLAIM
                                                                                                  HUSBAND




                                                                                                                                OR EXEMPTION

  §'/MC/ti?                              NQME
                                                                                                                                                                               /61/00°” °
                      F,AhllLy

  //-/gm;         p         9.9% 67                         It/M4,;
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                                                                                                                         $                                                 $




                                                                                                                         $                                                 $




                                                                                                                         $                                                 $


                                                                                               Total»                    $     //I/£300.00
                                                                                               (Report also on                  Summary       of Schedules.)




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                                                            Main Document    Page 3 of 31
               ..C'./5./Zliaislé <2                            /iv aeaa.                                                                     ans » ba;../@195 -55 c.
                                                                                                                                                               (If   known)‘
                           Debtor
                        '




                                                                 SCHEDULE B PERSONAL PROPERTY  ==




                                                                  the debtor of whatever kind. If the debtor
                                                                                                              has no property in one or more of the categories,
          Except as directed below, list all personal property of
           U


                                                                                                                   category, attach a separate sheet properly
                                                  column labeled “None.” If additional space is needed in any
  .




place an “x” in the appropriate position in the                                                married,  state whether  the husband, wife, both, or the marital
identiﬁed with the case name, case number, and the
                                                      number of the category. If the debtor is
                                                                                                                             Community.” If the debtor is an
                                                “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or
community own the property by placing an                                                                 C  e Property Claimed as Exempt.
                              is ﬁled, state the amount of any
                                                                exemptions claimed only in Schedule
individual or ajoint petition
                                                                                                             schedule. List them in Schedule                   G - Executory   Contracts and
                       D0 not list interests          in    executory contracts and unexpired leases on this
Unexpired Leases.
                                                                                               address under “Description and Location of
                                                                                                                                                   Propeny.”
                                                          else, state that person’s name and
If the property is being held for the debtor by someone                                                               the child‘s parent or guardian, such as
                                           child, simply state the child's initials and the name  and  address    of
If the property is being held for a minor                                                                      and Fed. R. Bankr. P. l0O7(m).
                                                         disclose the child's name. See, I l U.S.C. §I I2
"A.B., a minor child, by John Doe, guardian." Do not                                                                                                        ,_
                                                                                                .__.,$.;.;_;;,._...__....   ._   _   _    _   _._.      _.                      .

                                                             .__.-.-                .__...._   ﬂﬂﬂﬂﬂ. k¢_........K.....j.._¢
‘a__._.m,._._...__,_.__;...E..:,».¢.;_ .._. <__.Y._.Ta..-._.                                                                                   _
                                                                                                                                             INT               CURRENT VALUE OF
                                                                                                                                             JO                I)EBT()R’S INTEREST
                                                                                                                                                               IN PROPERTY, WITH-
                                                                                                                                                               OUT DEDUCTING ANY
                                                                                                                                             WIFE




                                                                                          I)ES(.‘RIPTION       AND LOCATION
                       TYPE OF PROPERTY
                                                                                                                                                    OMMUNTTY




                                                                                                          OF PROPERTY
                                                                                                                                             AND
                                                                                                                                                    C            SECURED CLAIM
                                                                       EIJZQZ


                                                                                                                                             HUSB
                                                                                                                                                    QR
                                                                                                                                                                 UR I<IXF,MPTION

      l.       Cash on hand.

                                  savings or other   t'inan~
      2.       (Ylreckirig,




                                                                      X
      cial accounts, certiﬁcates ofdeposit
      or shares in banks, savings and loan,
      thrift, building and loan, and
                                     home»
      stead associations, or credit unions,
      brokerage houses, or cooperatives.

      3.
      ities,
      lords,
               Security deposits with public util-
                 telephone companies, land-
                     and others.
                                                                      X
         Household goods and furnishings,
                                                                                 Coven, Qttntxs, '72“/5,, B-co                                 D 53                  300 O Q
                                                                                   Comm/75lL, ‘TV
                                                                                                                                                                           I
      4.                                                                                                                                                         I
      including audio, video, and computer
      equipment.

      5. Books; pictures and other art
      objects; antiques; stamp, coin,
       record, tape, compact disc, and other
       collections or collectibles.
                                                                      X                                                                                        § "§('>0. 6 U
       6.       Wearing          apparel.                                          '.§a\=/w<;, §l-\t'-‘~79,                    §t~l0/F   5
       7.       Furs and jewelry.
                                                                          ><><

       8. Firearms and sports, photo-
       graphic, and other hobby equipment.


       9.       Interests in insurance policies.
       Name insurance company of each                                    ><
       policy and itemize surrender or
       refund value of each.

                                                 and name
           I0. Annuities. Itemize                                           7‘
           each issuer.

           I   1.   Interests in an education        IRA    as
           deﬁned           in     530(b)(l) or under
                                 26 U.S.C.   §
           a qualiﬁed State tuition plan as deﬁned
                                                    in

           26 U.S.C. § 529(b)(l). Give particulars.
                                                                            7“
           (Fileseparately the record(s) of any such
           interest(s).           ll   U.S.C. § 521(c).)




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            ___                            >__                         ,
                                                                                                                                          known)
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                                                                                                                                    (If
                           Debtor

i

                                                 SCHEDULE B - PERSONAL PROPERTY
                                                                      (Continuation Sheet)

                                                                                                                                    CURRENT VALUE OF
                                                                                                                                    I)EBTOR’S INTEREST
                                                                                                          JOINT




                                                                                                                                    IN    PROPERTY, WITH-
                                                                                                                                    OUT DEDUCTING ANY
                                                                                                          WIFE




               TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION
                                                                                                                                      SECURED CLAIM
                                                                                                                        COMMUNITY




                                                        WZCZ
                                                                             OF PROPERTY                  HUSBAND




                                                                                                                        DR
                                                                                                                                      OR EXEMPTION


    12. Interests in   IRA, ERISA, Keogh, or
    other pension or proﬁt sharing plans.
    Give   particulars.
                                                     X
    13. Stock and interests in incorporated
    and unincorporated businesses.
    ltemize.


    l4. lnterests in partnerships    orjoint
    ventures. ltemize.
                                                     7“7“>4><



    l5 (iovcrnmertt  and corporate bonds
    and other negotiable and non-
    negotiable instruments.


    l6.   Accounts receivable.

    l7. Alimony, maintenance, support,
    and property settlements to which the
    debtor is or may be entitled. Give               7K
    particulars.


    l8. Other liquidated debts owed to
    debtor including tax refunds. Give
    particulars.
                                                     >4
    l9. Equitable or future interests, life
             and rights or powers exercisable
                                                     >4
    estates,
    for the beneﬁt of the debtor other than
    those listed in Schedule     A
                                ~ Real
    Property.


    20. Contingent and noncontin gent
    interests in estate of a decedent, death
    beneﬁt plan, life insurance policy, or trust.
                                                        X
    21. Other contingent and unliquidatecl
    claims of every nature, including tax
    refunds, counterclaims of the debtor, and
    rights to setoff claims.   Give estimated
    value of each.




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                                  ‘Debtor
                                                         /K/w36/Mao
                                                           T                      “   _         ,
                                                                                                                                       CaseNo.      _Z{_§_/_3,;_/;_rL-_1§§93--55¢
                                                                                                                                                            known)       Elf
    .             .
                                                                                                                                                                                     p




                                                             §€HEI)ULE B PERSONAL PROPERTY~==



                                                                                                (Continuation Sheet)



                                                                                                                                                                         CURRENT VALUE OF
                                                                                                                                                                         DEBTOR’S INTEREST
                                                                                                                                              JOINT




                                                                  2                                                                            WIFE                      IN PROPERTY, WITH-
                  TYPE OF PROPERTY                                Q               DESCRIPTION AND LOCATION                                          _    COMMUNITY       OUT DEDUCTING ANY
                                                                  2                                  OF PROPERTY                                                           SECURED CLAIM
                                                                  {=1
                                                                                                                                               HUSBAND




                                                                                                                                                         OR                OR EXEMPTION

22. Patents, copyrights, and other
                                                                 X
                                                                K
intellectual property.              Give   particulars.


23. Licenses, franchises, and other general
intangibles.            Give    particulars.


24. Customer lists or other compilations
containing personally identiﬁable
information (as deﬁned in ll U.S.C.                            >§
 § 10l(4lA)) provided to the debtor by
individuals in connection with obtaining a
product or service from the debtor
primarily for personal, family, or
household purposes.

                                                                        .q‘-7    Cnortmeg                                                                                 £'50¢>.OQ
 175         /Xrrtomobiles, trucks. trailers,
and other vehicles and accessories.
                                                                        l




                                                                            9°   (‘;I+eu               ‘T/<wer<                                    '7                     ﬁ9*5°'O°
26. Boats, motors, and accessories.


27. Aircraft            and accessories.                       XX?“


28.          Ofﬁce equipment,       furnishings,
and supplies.


29. Machinery, ﬁxtures, equipment,
and supplies used in business.
                                                                 >4

30. Inventory.



3       l.   Animals.                                          >‘><><




32. Crops - growing or harvested.
Give particulars.


33.          Farming equipment and implements.                  7‘
34. Fanri supplies, chemicals,                 and   feed.      >4
35. Other personal property                of any kind
not already           listed.   Itemize.                        >(

                                                                                                                                                                         3/ L go’ Q Q
                                                                                                         .




                                                                                                        continuation sheets attached     Total)’                     $
                                                                                                                                                                                 I
                                                                                                    (Include amounts from any continuation
                                                                                                    sheets attached. Report total also on
                                                                                                                Summary of Schedules.)




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                                                                         Main Document    Page 6 of 31
 Bolt) (Ofticial          Form 6D) (12/07)
                               In re    QHLAQ/cF5’                                         [S/U88/$_[L_QA__,                                                                Case No.                             /
                                                                                                                                                                                                                       " l9lf~/          O49        ’            Q
                                                                        Debtor                                                                                                                                                   (If     known)

                                          SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                         zip code, and last four digits of any account number of all entities holding
                                                                                                                                              claims secured by
                  State the   name, mailing address, including
                                                                 The    complete    account  number   of any account   the debtor has with the creditor is useful
       ,




property of the debtor as of the date of  ﬁling of the petition.

to the tmstee and the creditor and may be provided if the debtor
                                                                      chooses to do so. List creditors holding all types of secured interests such as
                                                 mortgages,   deeds  of  trust, and other security interests.
judgment liens, gamishments, statutory liens,
                                                                                          child is the creditor, state the child‘s initials and the name and
           List creditors in alphabetical order to the extent practicable. If a minor
                                            such as  "A.B., a minor   child,  by  John  Doe,  guardian." Do not disclose the child's name. See, 1 l U.S.C. §l l2
address of the child's parent or guardian,
                                                                                             the continuation sheet provided.
and Fed. R. Bankr. P. l007(m). If all secured creditors will not ﬁt on this page, use
                                                        case  may  be           liable on a claim,  place an “X” in the column labeled “Codebtor,” include the
           Ifany entity other than a spouse in a  joint                jointly

entity on the appropriate schedule of creditors, and complete
                                                                  Schedule       -~                                                 H
                                                                                    Codehtors. If a joint petition is ﬁled, state whether the husband, wife,
                                                                                         an “H,” “W,” “J,” or
                                                                                                                “C” in the column labeled “Husband, Wife,
both of them, or the marital community may be liable on       each  claim   by  placing
                 Community.”
                                                “X” in the column labeled “Contingent.” lftlie claim is unliquidated, place an “X” in the column
 Joint, or
           lfthe claim is contingent, place an
                                                             “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
 labeled “Unliquidated.” lfthe claim is disputed, place an
 these three columns.)
                                                                                           Collateral” and “Unsecured Portion, if Any” in the boxes
           Total the columns labeled “Amount of Claim Without Deducting Value of
 labeled “Total(s)” on the last sheet ofthe completed schedule. Report the     total from  the column labeled “Amount of Claim Without Deducting Value
                                                                             individual  with  primarily consumer debts, report the total from the column
 of Collateral” also on the Summary    of Schedules and, if the debtor is an
                                                                                            and  Related Data.
 labeled “Unsecured Portion, ifAny” on the Statistical Summary of Certain
                                                                                Liabilities


                                                                                                             this Schedule D.
                               (Iheck this box itdebtor has no creditors holding secured claims to report on

                                                                                                                      ._._..__ﬂ7.t ...._.j_._..._..-.L--..                                                   4_._._._..-a.._     _.-......__..t.._...___,L_              L,
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     CREDITOR‘S NAME AND                                                                                    DATE CLAIM WAS                                                                               AMOUNT OF CLAIM                           UNSECURED
       MAILING ADDRESS
                                                                       WIFE,

                                                                                                              INCURRED,                                                                                      WITHOUT                               PORTION, IF
                                                                                  OR
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    INCLUDING ZIP CODE AND                                                                                                                                                                                OF COLLATERAI,
           AN ACCOUNT NUMBER                          conrzrsroa
                                                                                           COMMUNITY
                                                                                                                          AND                        CONTINGENT       UNLIQUIDATED        DISPUTED




            (See Instructions Above.)
                                                                                  JOINT,
                                                                                                               DESCRIPTION
                                                                                                             AND VALUE OF
                                                                       HUSBAND,




                                                                                                               PROPERTY
                                                                                                            SUBJECT TO LIEN
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                                                                                                                                                                                                             Schedules.)                       also   on   Statistical
                                                                                                                                                                                                                                               Summary of Certain
                                                                                                                                                                                                                                               Liabilities    and Related
                                                                                                                                                                                                                                               Data.)




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                                                                                                CaseN0. 2,'l3"’!2[t '1                               5
                     Debtor                                                                                  (if known)




     Certai n farmers a nd ﬁshermen
    i\
7
                                                             $5,400* per farmer or ﬁsherman, against the debtor, as provided          in         U.S.C.       507(a)(6).
    Claims of certain fanners and ﬁshermen, up                                                                                                            §
                                                                                                                                           l l
                                                      to




    ,~Deposits by individuals


  Claims ofindividuals up to $2/125* for deposits for the purchase,                 lease, or rental   ofproperty or services for personal, family, orihousehold use,
that were not delivered or provided. ll U.S.C. § 507(a)(7).




      Taxes and Certain Other Debts         Owed   to    Governmental Units

                                                                             and local governmental units      as set forth in ll U.S.C. § 507(a)(8).
    Taxes, customs duties, and penalties owing to federal,          state,




[J    (Ioiriinitmeiits to   Maintain the Capital of an lnsured Depository institution

                                                                                                Comptroller olithe Currency, or Board of
  Claims based on commitments to the FDIC, RTC, Director oithc Office ot'Thrift Supervision,
                                                                 successors,    maintain the capital of an insured depository institution,                                     1   U.S.C.
Governors ofthe Federal Reserve System, or their predecessors or             to                                                                                            l




§ 507 (a)(9).




‘:1 Claims for Death or Personal Injury While Debtor                  Was Intoxicated

                                                        from the operation ofa motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                                                                                                                                        a
    Claims   for death or personal injury resulting
drug, or another substance. ll U.S.C. § 507(a)(l()).




                                                             2010, and every three years thereafter with respect to cases        commenced on        or after the date of
*   Amounts    are subject to adjustment on April       1,

adjustment.




                                                                      _9~_: continuation sheets attached




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                                                                                                                                      CaseNo.       Qll      §'*'bll ‘
                  In re_@»é_gA-R/t/;§'                                                  ,
                      ‘




                                                             Debtor                                                                                          (if   known)


                  SCHEDULE E CREDITORS HOLDING UN SECURED PRIORITY CLAIMS
                                                       »-




    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                                             state the name, mailing address,
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets,
                                                         number,           of              holding priority claims against the  debtor or the property of the
including zip code, and last four digits of the account            if any,    all entities

        as of the date of the ﬁling of the petition. Use  a separate  continuation   sheet for each type of priority and label each with the type of priority.
debtor,


    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may
                                                                                                                                        be provided                                    if   the

debtor chooses to do so. Ifa minor child is a creditor, state the child's initials and the name and address of
                                                                                                               the child's parent or guardian, such                                    as

”A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, l U.S.C. §l 12 and Fed. R. Bankr. l      P. 100'/(m).


                                                                                                 "X" in the column labeled "Codebtor," include the
       any entity other than a spouse in ajoint case may bejointly liable on a claim, place an
             If
                           schedule   of            and complete Schedule  H-Codebtors.   Ifajoint petition is ﬁled, state whether the husband, wife,
entity on the appropriate                creditors,
                                                                                       "H," "W," "I," or "C" in the column labeled "Husband, Wife,
both ofthem, or the marital community may be liable on each claim by placing an
                              It the claim is contingent, place an
                                                                   "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
Joint, or Community."
                                                                          "X" in the column labeled "Disputed." (You may need to place an "X" in more
the column labeled "Unliquidated." lfthe claim is disputed, place an
than one of these three columns.)

                                                                                                                            all claims listed on                                    Schedule
           Report the total ofclaims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of
                                                                                                                                                                             this

    ti   in the box labeled “Total” on the  last sheet otthe completed schedule.  Report this total also on the Summary  of Schedules.


             Report the   amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
                             total oi’
                            on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
    entitled to priority listed
    primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities
                                                                                                      and Related Data.


             Report the      total     of amounts    trot entitled to priority listed
                                                                                      on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
    amounts not            entitled to priority listed      on   this Schedule E in the box labeled “Totals” on the last sheet ofthe completed schedule. Individual debtors
    with nrimarily consumer debts report this                     total also on the Statistical Summary of Certain Liabilities and Related Data.



              Check       this   box   if   debtor has no creditors holding unsecured priority claims to report on this Schedule E.


    TY}/ES        OF PRIORITY CLAIMS                        (Check the appropriate box(es) below   if   claims in that category are listed on the attached sheets.)


             Support Obligations
l:| Domestic
                                                                                                                       or the parent, legal guardian, or
        Claims for domestic support that are owed to or recoverable by a spouse, fomier spouse, or child ofthe debtor,
    responsible relative of such a child, or a governmental unit to whom such a domestic support claim
                                                                                                       has been assigned to the extent provided in
    ll   u.s.c.    § 507(a)(l).


         lExtensions of credit in an involuntary case
|




      Claims arising in the ordinary course ofthe debtor‘s business or ﬁnancial                             affairs after the   commencement of the case but before      the earlier of the

    appointment ofa trustee or the order for relief. ll U.S.C. § 507(a)(3).


l        l
             Wages,       salaries,     and commissions

                       and commissions, including vacation, severance, and sick leave pay owing to employees and commissions
                                                                                                                                    owing                                   to qualifying
         Wages,   salaries,
                                                                                                        preceding the ﬁling of the original                                 petition, or the
    independent sales representatives up to $l0,950* per person earned within 180 days    iirunediately

    cessation of business, whichever occurred ﬁrst, to the extent provided in l l U.S.C. § 507(a)(4).

D            Contributions to employee beneﬁt plans

                                       plans for services rendered within l80 days immediately preceding the ﬁling ofthe original
                                                                                                                                  petition, or the
         Money owed to employee beneﬁt
                                                           extent provided    l U.S.C. § 507(a)(5).
    cessation ofbusiness, whichever occurred  ﬁrst, to the                 in                           l




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In re                                                                  8/ER‘?                                      1_   ,
                                                                                                                                          CaseNo.
                              Debtor                                                                                                                                                                   (if   known)


        SCHEDULE E CREDITORS HOLDING UNSECUREI) PRIORITY CLAIMS
                                               =
                                                                                                                            (Continuation Sheet)

                                                                                                                                                                                         Type of Priority              for   Claims Listed on This Sheet



           CREDITOR’S NAME,
                                                                        WIFE,
                                                                                                                DATE CLAIM WAS                                                                     AMOUNT                          AMOUNT                                  AMOUNT
           MAILING ADDRESS
                                                                                   OR
                                                                                                                 INCURRED AND                                                                        O       ‘fl                  ENTITLED                                       NOT
                                                                                                                CONSIDERATION
                                                                                                                                                                IDATED


                                                                                                                                                                                                       CLAIM                                      TO                   ENTITLED
          INCLUDING ZIP CODE,
                                                                                            COMMUNITY




         AND ACCOUNT NUMBER
                                                                        HUSBAND,
                                                                                   JOINT,



                                                                                                                   FOR CLAIM                      CONTINGENT
                                                                                                                                                                                                                                  PRIORITY                                                 TO
                                                                                                                                                                                                                                                                   PRIORITY, IF
                                                                                                                                                                              DISPUTED




            (See instructions above)                                                                                                                            UNLIQU
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                                                            CODEBTOR




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    Sheet no. L   of_L continuation sheets attached to Schedule of
    Creditors Holding Priority Claims                                                                                                    (Totals ofthis page)
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                                                                                                                Schedule E. Report also on the Summary                                                             0                                                   "%;;;?*
                                                                                                                of Schedules.)
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                                                                                                                (Use only on last page of the completed
                                                                                                                Schedule E. If applicable, report also on
                                                                                                                the Statistical  Summary of Certain
                                                                                                                Liabilities   and Related Data.)




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Infe                             Charles HUbbard                                                                                               Casg No_                                         -             -
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                                                                                                              ,
                "
                                           Debtor                                                                                                                                                    (if          known)
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                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
            l

      -




    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of ﬁling of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child’s parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §ll2 and Fed.
R. Bankr. P. l007(m). Do not include claims listed in Schedules                                                   D
                                                                        and E. If all creditors will not ﬁt on this page, use the continuation sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an
                                                                                                 “X” in the column labeled “Codebtor,” include the entity on the
                                                                                                    H
appropriate schedule of creditors, and complete Schedule - Codebtors. If a joint petition is ﬁled, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the colunm labeled “Husband, Wife, Joint, or Community.”

          claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an
          I F the
                                                                                                                       “X” in the column labeled “Unliquidatcd.”
If the claim is disputed, place an “X” in the column labeled “Disputed.”  (You may need to place an     “X” in more  than one of these three columns.)

          Report the           total   of all claims   listed   on this schedule                   in the     box labeled “Total” on the   last sheet   of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data.

          El            Check this box    if debtor   has no creditors holding unsecured claims to report on this Schedule F.


                    CREDITOR’S NAME,                                          WIFE,
                                                                                                                   DATE CLAIM WAS                                                                     AMOUNT OF
                 MAILING ADDRESS                                                         OR                         INCURRED AND                                                                                      CLAIM
                INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                                                                      TOR



          AND ACCOUNT NUMBER
                                                                                                  COMMUNITY




                                                                                         JOINT,
                                                                                                                           CLAIM.                       ONTINGENT




                                                                                                                      CLAIM IS SUBJECT TQ
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                                                                              HUSBAND,
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                         (See instructions above.)                    CODEB
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                                                                                                                Summary of Certain Liabilities and Related Data.)




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                                                   Debtor                                                                                                                                     (if
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                       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
           H


      n




    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of ﬁling of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by Jolm Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §l 12 and Fed.
R. Bankr. P. l007(m). Do not include claims listed in Schedules                                                D
                                                                        and E. If all creditors will not ﬁt on this page, use the continuation sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an
                                                                                                 “X” in the column labeled “Codebtor,” include the entity on the
                                                                                                  H
appropriate schedule of creditors, and complete Schedule - Codebtors. If ajoint petition is ﬁled, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

          If the claim is contingent, place            an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim               is   disputed, place   an “X” in the column labeled “Disputed.” (You may need to place an
                                                                                                                         “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data.

          El           Check this box if debtor has no          creditors holding unsecured claims to report                   on this Schedule   F.



                CREDITOR’S NAME,                                              WIFE,
                                                                                                 TY             DATE CLAIIVI WAS                               D                               AMOUNT OF
                MAILING ADDRESS                                                     ,
                                                                                        OR                       INCURRED AND                                                                              CLAIM
               INCLUDING ZIP CODE,                                                                             CONSIDERATION FOR
          AND ACCOUNT NUMBER                                       CODEBTOR
                                                                                        JOINT,   COMMUNI

                                                                                                                        CLAIM.                    CONTINGENT




                                                                                                                   CLAIM IS SUBJECT TO
                                                                                                                                                               UNLIQUIDATE
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                        ($¢@iMlP1wfi0"S above-)                                                            IF
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                                                                                                               Summary of Certain Liabilities and Related Data.)




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    __‘ re                  Charles Hubbard                                                              ,                           C353 N9,                                      3-         -       -

                                    Debtor                                                                                                                                         (if   known)

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                              (Continuation Sheet)




                  CREDITOR’S NAME,
                                                                         WIFE,
                                                                                                              DATE CLAIM WAS                                                              AMOUNT OF
              MAILING ADDRESS                                                       OR
                                                                                                               INCURRED AND                                                                       CLAIM
             INCLUDING ZIP CODE,                                                             COMMUNITY       CONSIDERATION FOR
           AND ACCOUNT NUMBER                                                                                    CLAIM.
                                                            CODEBTOR

                                                                                                                                                                        DISPUTED
                                                                                    JOINT,                                                CONTINGENT




                                                                                                         IF CLAIM IS SUBJECT TO
                                                                                                                                                       UNLIQUIDATED
                                                                         HUSBAND,



                   (See instructions above.)
                                                                                                            SETOFF, SO STATE.

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      I5 Q?            1;   Omwc./s Ma»                       S'r       /in                                  /lue                                                                        9/1,07/1.92.
       DHX               /la $5,096
      Sheet no.        of       5 continuation sheets attached                                                                                                   Subtotal)
         Schedule of Creditors Holding Unsecured
                                                                                                                                                                                         $391 %‘7,g'f
      to
      Nonpriority Claims

                                                                                                                                                                      Total)
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                     (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                           Summary of Certain Liabilities and Related Data.)




                      Case 2:13-bk-16593-PS                                         Doc 26 Filed 10/22/13 Entered 10/23/13 11:54:39                                                                       Desc
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B-QF (Ofﬁcial Fomi 6F) (12/07)

|n re I
                    ‘


                                 Charles Hubbard                                                           ,                                Case No,                       2:13        -   bk - 16593 -           SSC
                                                                                                                                                                                            (if known)
                _



                                           Debtor
  s


                    SCHEDULE F - CREDITORS HOLDING UN SECURED NONPRIORITY CLAIMS
            I


       -




    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of ﬁling of the petition. The complete accoimt number of any account the debtor has with the creditor is
useﬁil to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 1 1 U.S.C. §l l2 and Fed.
R. Bankr. P. l007(m). Do not include claims listed in Schedules                                                D
                                                                        and E. If all creditors will not ﬁt on this page, use the continuation sheet provided.

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
                                                                                                  H
appropriate schedule of creditors, and complete Schedule - Codebtors. If a joint petition is ﬁled, state whether the husband, wife, both of them, or the marital
cormnunity may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

       If the claim is contingent, place            an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed,                place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)


       Report the             total   of all claims            on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
                                                          listed
Summary of Schedules and,                        if the   debtor is an individual with primarily consumer debts, report this total also on the Statistical Surmnary of Certain Liabilities
and Related Data.

       El           Check this box       if debtor   has no creditors holding unsecured claims to report on this Schedule F.


                CREDITOR’S NAME,                                           WIFE,
                                                                                                                DATE CLAIM WAS                                                                 AMOUNT OF
             MAILING ADDRESS                                                          OR
                                                                                                                 INCURRED AND                                                                   CLAIM
            INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
                                                                   TOR



       AND ACCOUNT NUMBER
                                                                                               COMMUNITY




                                                                                      JOINT,
                                                                                                                           CLAIM.               ONTINGENT




                                                                                                                   CLAIM IS SUBJEQT TQ
                                                                                                                                                            UNLIQUIDATED
                                                                           HUSBAND,
                                                                                                                                                                            DISPUTED


                        (See instructions above.)                  CODEB
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       j./              of   5                                                                                                                                       Subtotal>             $

                    continuation sheets attached                                                                                                         Total)                            $
                                                                                                          (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)




                             Case 2:13-bk-16593-PS                                    Doc 26 Filed 10/22/13 Entered 10/23/13 11:54:39                                                                             Desc
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1|; rt;              Charles Hubbard                                                       ,                                       case No,                          2:13 - bk           16593
                                                                                                                                                                                         -        -   SSC
                             Debtor                                                                                                                                               (if known)


           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                 (Continuation Sheet)




          CREDITOR’S NAME,                                 WIFE,
                                                                                                DATE CLAIM WAS                                                                          AMOUNT OF
           MAILING ADDRESS                                            OR
                                                                                                 INCURRED AND                                                                                CLAIM
          INCLUDING ZIP CODE,                                                  COMMUNITY       CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                                                  CLAIM.
                                              CODEBTOR


                                                                      JOINT,                                                            CONTINGENT                     DISPUTED




                                                                                                CLAIM IS SUBJECT TO
                                                                                                                                                     UNLIQUIDATED
                                                           HUSBAND,



            (See instructions above.)                                                      IF
                                                                                                SETOFF, SO STATE.

  ACCOUNT NO.           '4]


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                         A2          <$§')0§’
  ACCOUNT NO.




  ACCOUNT NO.




  ACCOUNT NO.




 Sheet no.__5_ of            continuation sheets attached                                                                                                     Subtotal)             $
 to Schedule of Creditors Holding Unsecured
                                                                                                                                                                                             q O‘; 3
                                                                                                                                                                                                      ‘




 Nonpriority Claims                                                                                                                                                                     I
                                                                                                                                                                                                          a
                                                                                                                                                                    Total)          $
                                                                                                     (Use only on   last   page of the completed Schedule                 F.)
                                                                       (Report also on          Summary of Schedules and, if applicable on the Statistical
                                                                                                      Summary of Certain Liabilities and Related Data.)                                       0 5Q 0  *       O




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                                                                      Main Document    Page 15 of 31
B61   (Oman Form 61) (12/07)
  .   In re C}/4/AAA)? 5                                 /ZAQO           ,                                     Case No.     Q 3 I I9 K
                                                                                                                                    ‘I,             "'            "
                                     Debtor                                                                                                   (if   known)


                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
      The column labeled “Spouse” must be completed     in all cases ﬁled by joint debtors and by every married debtor, whether or not ajoint petition                is

      ﬁled, unless the spouses are separated and ajoint petition is not ﬁled. Do not state the name of any minor child. The average monthly income
      calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.


           Debtor’s Marital                                                  DEPENDENTS OF DEBTOR AND SPOUSE
           Status:
           (5,    M 6-A /__             RELATlONSHIP(S):                                                                                      AGE(S):

           Employment:                                          DEBTOR                                                               SPOUSE
                                       E7, A K: O
           Occupation
      -Name Ofl-imployer8

           Address of Employer




      INCOME: (Estimate of average or projected monthly income at time               DEBTOR                                 SPOUSE
                               case ﬁled)                                                    ,
                                                                                                   O '71. 9'1
                                                                                                     O
                                                                                     s       5,                             s
      l.     Monthly gross wages,          and commissions
                                         salary,
               (Prorate if not paid monthly)                                         $                                      $
      2.     Estimate monthly overtime

             SUBTOTAL
                                                                                                 3 :5              ('96,
      3.
                                                                                     ls                                         $
                                                                                                                                                              l


      4.     LESS PAYROLL DEDUCTIONS



                                                                                         |C
             a.   Payroll taxes and social security
             b.   Insurance
             c.   Union dues                                                                               i


             d.    Other (Specily):

      5.     SUBTOTAL OF PAYROLL DEDUCTIONS                                              s       /Q (I I)‘ i           '7       $

      6.     TOTAL NET MONTHLY TAKE HOME PAY                                             $ Z      Q 0 3,           /1'
                                                                                                                                $

      7.     Regular income from operation of business or profession or farm         $

      8.
               (Attach detailed statement)
             Income from real property                                               $__0____
      9.     Interest and dividends                                                  $               g‘;

       10.    Alimony, maintenance or support payments payable to the debtor for
                the debtor’s use or that of dependents listed above
                                                                                     $   0
       ll. Social security or          government assistance
                  (Specify):                                                         $                C                     $
       12. Pension or retirement income
       l3. Other monthly income
                                                                                     $———-—--—-——                           $   ——--—
                   (Spec1fy).               @507     Eﬂk        R0 OP\ﬂ4h7IF         $            5 EU, Q O                 $

       I4.    SUBTOTAL OF LINES 7 THROUGH                  I3                            $              Q O                 $

       15.    AVERAGE MONTHLY INCOME (Add amounts on lines 6 and 14)                     $£ﬁ:_5_3 '59          '            $


       16.    COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                     $   ——2-gig O
      totals       from   line 15)                                                   (Report also on             Summary of Schedules and, if applicable,
                                                                                     on      Statistical       Summary of Certain Liabilities and Related Data)

       l7.    Describe any increase or decrease in income reasonably anticipated to occur within the year following the ﬁling of this document:



                   @HII~D6UPP°R‘7‘ AW/M Dsc/zmsa 5/13.00 /°/1//5

                                         Main W/AA
                   Case 2:13-bk-16593-PS
                   M50/0,4/~ T,u§u/2A~e/;
                                         Doc 26 Filed D4-'4'/z€4sv2'              /1/I/13Desc
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                                              Document      Page 16 of41/0oo.Q<)
                                                                       31
    DUJ               [‘\J'llllllkLll?dE    K‘Ul   llllt   UJ) {LA/U I)

                  .           llnre                                                           h’(/68/l/1’)                            ,
                                                                                                                                                                                       CaseNo.
                                                                    Debtor                                                                                                                             (if   known)


                                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTO'R(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case ﬁled. Prorate any payments made
         -
                                                                                                                                                                                                                                                       bi-

 weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income
 allowed on Fonn22A or 22C.

Ii                        Check        this   box ifajoint petition                is   ﬁled and debtor’s spouse maintains                     a.   separate household. Complete a separate schedule of expenditures labeled “Spouse.”
              E




    l.   Rent or home mortgage payment (include
              a.

              b. ls
                      Are     real estate taxes included?

                          property insurance included?
                                                                                        lot   rented for mobile home)

                                                                                               Yes
                                                                                               Yes ________ __
                                                                                                                             No    Wk
                                                                                                                             No A4lg___
                                                                                                                                                                                                                        t    j§l2ifZ.9


 2. Utilities:                   a.   Electricity          and heating fuel                                                                                                                                             ii   ___.eiZ,Q¢0%0
                                 b.    Water and sewer                                                                                                                                                                  is
                                                                                                                                                                                                                                    I1
                                                                                                                                                                                                                                             5'   0O
                                      Telephone                                                                                                                                                                         t    .__s5..Z__lL>
                                                                                                                                                                                                                                             G
                                 c.

                                 d.   Other                                                                                                                                                                             s

3.       Home maintenance                        (repairs        and upkeep)                                                                                                                                            t            .


4.       Food                                                                                                                                                                                                           it   _,_§t-Q9,._Q.0
5.       Clothing                                                                                                                                                                                                       $    __.


                                                                                                                                                                                                                                            Q;
6.       Laundiy and diy cleaning
7.       Medical and                  (‘lentil   expenses                                                                                                                                                               it



8.       Trzinsportation (not including car payments)                                                                                                                                                                   is   E. _.,J.9_Q~_Q.®
                                   clubs zind entertainment, newspapers, inaga1.ines,etc.

                                                                                                                                                                                                                             _4LLQ Q
9. Recrcatitiri,

lO.Charitable contributions                                                                                                                                                                                             i

l    llnsurance (not deducted from wages or included
                         a.   H0meownei"’s or renter°s
                              Life
                                                                                                    in   home mortgage payments)
                                                                                                                                                                                                                        iﬁ
                                                                                                                                                                                                                        $__&“
                                                                                                                                                                                                                        s    3                    fﬁ


                                                                                                                                                                                                                        $_AQ__
                         b.

                         c.   Health

                                                                                                                                                                                                                        $_83JL(J
                         d.

                         e.
                              Auto
                              Other __                                                  _      _,
                                                                                                                       .
                                                                                                                                              A_         __~_        __                                                 $iQ_
l2,          Taxes (not de                  eted from wages orincluded in                           home mortgage payments)
(5P@¢i5y) s____                                     to 1?4.1
                                                                    7          _                                   _                          AA_        _-,___            .                                            ii   _-.fii2L.(/3»
l3.          Installment payments: (In chapter ll, 12, and 13 cases, do not                                                list   payments     to   be included   in the       plan)

                         a.   Auto
                                                                                                                                                                                                                                     Oitg
                         b.   Other        i;_______74_A_A__g__v_____ ____i________
                         C.   Other     __                                                                         ___                    _

14.          Alimony, maintenance, and support paid                                     to others

l5.          Payments            for    suppon of additional dependents not                              living at your       home                                                                                      $    EM           oo§P@
                                                                                                                                                                                                                                                        C)

l6.          Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                                                                               55         _.__

l7.          Other_   Y        __    __                    _                                             _4__’__                                                                                                        $_________
l8.          AVERAGE MONTHLY EXPENSES (Total lines
             if applicable,            on the      Statistical      Summzuy of Certain
                                                                                                         1-l7. Report also on
                                                                                                         Liabilities
                                                                                                                                      Summaiy ofSchedules
                                                                                                                           and Related Data.)
                                                                                                                                                                      and,
                                                                                                                                                                                                                 l    slﬂiiiii
l9.          Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the ﬁling of this document:



             STATEMENT OF MONTHLY NET INCOME
                                                                                                                                                                                                                                                             5
20.

             a.       Average monthly income from Line 15 of Schedule                                        l                                                                                                          $_£§L5_5_1
             b.       Average monthly expenses from Line 18 above                                                                                                                                                       $i*§’_L3;;3                          Q\
             c.       Monthly         net   income         (a.   minus   b.)




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            *
                        In re _(Sff_!,°r.QLE§:_._/14..lf(.@.[J?.-ll./l’,9
                                                          Debtor
                                                                                                                                                        Cmww Q .'l 3_;l1lr%/_(;5_9
                                                                                                                                                                                               (if   known
                                                                                                                                                                                                                            3

                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
                                                                                                                             "
                                                                                                                                                             //“
                                                                                                                                                                    i
                                                                                                                                                                        i



                                                                                                                                                                            \\




            I    declare under penalty of perjury that               I   have read the foregoing summary and schedules, consisting                         €f_,___A_”            eets_     and    that they are true    nd correct    to the best           of
 my knowledge,             information, and belief.                                                                                                          \\


                -..--1.4>    at;/./.s_,--_-                                                                                                                                           -       _        _--- -                __._..-
                                                                                                                                                                                                  Debtor

 Date           ____   7        V_____ﬁ                                   *                                                  Si gnature: f              ¥_______V
                                                                                                                                                                                 (Joint Debtor, if any)
                                                                                                                                                                                                              ____          __      ___W



                                                                                                                                    [lfjoirit case,     both spouses must sign]



                                     DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See ll                                                                                          U.S.C. § 110)

    l                             that: (l) l am a bankruptcy petition preparer as deﬁned in ll U.S.C. §
        declare under penalty of perjury                                                                  10; (2) I prepared this document for compensation and have provided
                                                                                                                                                    I


                            document and the notices and information required under I U.S.C. §§ l0(b), ll0(h) and 34Z(b); and, (3) ifrules or guidelines have been
the debtor with a copy ofthis                                                                                            l                      1


promulgated pursuant to 11 U.S.C § ll0(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, have given the debtor notice ofthe maximum              l


amount before preparing any document for ﬁling for debtor or accepting any fce ﬁoirt the debtor. as required by that section
                                                                              at




Printed or Typed Name and Title,                    if   any,                                              Social Security No.
of Bankruptcy Petition Preparer                                                                            (Required by I1        US C. § 110.)
lfthe bankruptcy petition preparer                   is   not an individual, state the name,       title     any), address,       and social security number of the                       officer, principal,   responsible person, or partner
who signs this document,




/t<iare§TW"”'*ﬁTw7
X       _.__,____4___
 Signature of Bankruptcy Petition Preparer                                                                                                 D ate

Names and              Social Security       numbers of all other individuals who prepared or assisted             in   preparing        this   document, unless the bankruptcy petition preparer                      is   not an individual:

    more than one person prepared this document, attach additional signed sheets conforming                                      to the   appropriate Oﬂicial               Form for eacli person.


A bankruptcy petition prapa!-er'sfailure                 to   comply with Ilieprovisions   oftitle ll   and the Federal Rules 0/Barrkruptcy Procedure may result inﬁnes or imprisonment or both. ll US. C. §                                        I10,‘
18 U.S.C. § /56.



                            DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

        I       the                                                                                                an authorized agent of the corporation or a member or an authorized agent of the
                                                                                   [the president or other ofﬁcer or
                                                                                           _ [corporation or partnership] named as debtor
            ,



partnership ] of the                _                                                                                                     in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting                                of_    sheets (Total shown on sunmiary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date                          ____mv__   M
                                                                                                               Signature:                                                                                                                           _



                                                                                                                                 _____          7___.__                          ,__           _i                                          __ __.
                                                                                                                                   [Print or type         name of individual                 signing on behalf of debtor]


[A n individual signing on behalf of a partnership or corporation must indicate position or                                         t‘£’l0llOI1Sl7ip    I0   debtor]


Penalty,/or rnalcing afalse statement or concealingpraperty: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




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 B-7 (Official     Form   7)   (12/07)

                                                       UNITED STATES BANKRUPTCY COURT

                                                                               nrsrnrcr or ARIZONA


 In   re1_@H                                         1‘!!! 81,3 A/K PD          _7            C856 N°-
                                         De   tor                                                                 ifknown)




                                                          STATEMENT OF FINANCIAL AFFAIRS
               This statement  be completed by every debtor. Spouses ﬁling a joint petition may ﬁle a single statement on which
                                              is to

 the information for both spouses is combined. lfthe case is ﬁled under chapter 12 or chapter 13, a married debtor must furnish

information for both spouses whether or not ajoint petition is ﬁled, unless the spouses are separated and ajoint petition is not
ﬁled. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement conceming all such activities as well as the individua1‘s personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child‘s parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the cl1i1d‘s name. See, 11 U.S.(I.
{$112 and Fed. R. Bankr. P. 10(l7(rn).


          Questions ~ 18 are to be completed by all debtors. Debtors that are or have been in business, as deﬁned below, also
                                     l


must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identiﬁed with the case name,
case number (if known), and the number ofthe question.



                                                                                     DEFINITIONS
              "In business.”                  A debtor is                    form ifthe debtor is a corporation or partnership. An
                                                            "in business" for the purpose ofthis
individual debtor              is           purpose ofthis form ifthe debtor is or has been, within six years immediately preceding
                                    "in business" for the
the ﬁling ofthis bankruptcy case, any ofthe following: an ofﬁcer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part~ti1ne. An individual debtor also may be “in business” for the purpose of this form ifthe debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

              "Ir1s1'der'.
                                ”
                                    The term          "insider" includes but
                                                       is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations                       an ofﬁcer, director, or person in control; ofﬁcers, directors, and any owner of
                                                    of which the debtor   is
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; afﬁliates of the debtor and insiders
of such afﬁliates; any managing agent of the debtor. ll U.S.C. § 101.



              1.     Income from employment or operation of business

              State the gross amount of income the debtor has received from       employment, trade, or profession, or from operation of
N03?‘         the debtor’s business, including part-time activities either as an  employee or in independent trade or business, from the
              beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
              two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, ﬁnancial records on
              the basis of a ﬁscal rather than a calendar year may report ﬁscal year income. Identify the beginning and ending dates
              of the debtor's ﬁscal year.) lf a joint petition is ﬁled, state income for each spouse separately. (Married debtors ﬁling
              under chapter 12 or chapter 13 must state income of both spouses whether or not ajoint petition is ﬁled, unless the
              spouses are separated and ajoint petition is not ﬁled.)

                                    AMOUNT                                                               SOURCE
          $

          $

          $



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                                                                                                                                                              2

              2.     Income other than from employment or operation of business

None          State the amount of income received by the debtor other than from employment, trade, profession, operation of the
              debtor‘s business during the two years immediately preceding the commencement of this case. Give particulars. If a
l:j
             joint petition        is        ﬁled, state  income for each spouse separately. (Married debtors ﬁling under chapter 12 or chapter 13
              must    state   income            for   each spouse whether or not a joint petition is ﬁled, unless the spouses are separated and a joint
              petition   is   not   filed.)


                              AMOUNT                                                                                   SOURCE
        $               § 5'01 O O                                                                                     QQOM /M P’/5
        $

_--.._.-§_
             3.      Payments            to creditors


              Complete        a.   or    b.,   as appropriate,    and    c..

N01
             a.    Individual      01' joint      debt0r(s) with primarily      consumer debts:   List         payments on
                                                                                                       loans, installment purchases of
                                                                                                         all
             goods or services, and other debts                   to   any creditor   made within 90 days immediately
                                                                                                      preceding the commencement of
             this case unless the aggregate value ofall property that constitutes or is affected by such transfer is less than $600.
             lndicate with an asterisk (*) any payments that were made to a creditor on account ofa domestic support obligation or
             as part of an alternative repayment schedule under a plan by an approved nonproﬁt budgeting and credit counseling
             agency. (Married debtors tiling under chapter 1'2 or chapter l3 must include payments by either or both spouses
             whether or not ]t)il1i petition is filed, unless the sptiiises are separated and joint petition is not filed.)
                                        21                                                                        it




                     NAME AND ADDRESS OF CREDITOR DATES OF                                                AMOUNT                AMOUNT
                                                                                      PAYMENTS            PAID                  STTLL    OWlNG
                                                                                                                                $

       T"                                    MT
No

             b.    Debtor whose debts are not primarily consumer debts: List each payment or other transfer                         to   any creditor made
             within 90 days immediately preceding the commencement of the ease unless the aggregate value of all property that
             constitutes or is affected by such transfer is less than $5,475. lfthe debtor is an individual, indicate with an asterisk (*)
             any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
             repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
             debtors ﬁling under chapter l2 or chapter l3 must include payments and other transfers by either or both spouses
             whether or not ajoint petition is ﬁled, unless the spouses are separated and ajoint petition is not ﬁled.)

             NAME AND ADDRESS OF CREDITOR                                                 DATES OF                     AMOUNT              AMOUNT
                                                                                          PAYl\/[ENTS/                 PAID OR              STTLL
                                                                                          TRANSFERS                    VALUE OF             OWlNG
                                                                                                                       TRANSFERS
                                                                                                                  $                          $




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    ,
        Nonﬁ
               c.   All debtors: List    all   payments made within one year immediately preceding the commencement of this case
                           beneﬁt of creditors who are or were insiders. (Married debtors ﬁling under chapter 12 or chapter 13 must
               to or for the
               include payments by either or both spouses whether or not a joint petition is ﬁled, unless the spouses are separated and
               ajoint petition    is   not ﬁled.)

                      NAME AND ADDRESS OF CREDITOR DATE OF                               AMOUNT                    AMOUNT
                      AND RELATIONSHIP TO DEBTOR   PAYMENT                               PAID                      STILL OWING


                                                                                         $                              $




               4.   Suits   and administrative proceedings, executions, garnishments and attachments

        Noe    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately

               preceding the ﬁling of this bankruptcy case. (Married debtors ﬁling under chapter l2 or chapter 13 must include
               information concerning either or both spouses whether or not ajoint petition is ﬁled, unless the spouses are separated
               and ajoint petition is not ﬁled.)

                      CAP'l'lON    OF    Sbil‘                                            COURT" OR      \£.,iIiN('IY       S'l‘/<\'l‘IlS   OR
                      AND CASE NUMBER                    NATURE OF PROCEEDING             AND   1JO(_:l/\'K‘I()N            DISPOSITION




\       Noge   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
               year immediately preceding the commencement ofthis case. (Married debtors ﬁling under chapter I2 or chapter 13
               must include information concerning property of either or both spouses whether or not ajoint petition is ﬁled, unless
               the spouses are separated and ajoint petition is not ﬁled.)


                      NAME AND ADDRESS                                                                             DESCRIPTION
                      OF PERSON FOR WHOSE                              DATE OF                                     AND VALUE
                      BENEFIT PROPERTY WAS SEIZED                      SEIZURE                                     OF PROPERTY




               5.     Repossessions, foreclosures and returns


\ Noﬁe         List all property that hasbeen repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
               of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
               (Married debtors ﬁling under chapter 12 or chapter I3 must include information concerning property of either or both
               spouses whether or not ajoint petition is ﬁled, unless the spouses are separated and ajoint petition is not ﬁled.)

                                                                   DATE OF REPOSSESSION,                           DESCRIPTION
                      NAME AND ADDRESS                             FORECLOSURE SALE,                               AND VALUE
                      OF CREDITOR OR SELLER                        TRANSFER OR RETURN                              OF PROPERTY




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               6.    Assignments and rcceiverships

N015
               a. Describe any assignment of property for the beneﬁt of creditors made within 120 days immediately preceding the
               commencement of this    case. (Married debtors ﬁling under chapter 12 or chapter I3 must include any assignment by
               either or both spouses whether or not a joint petition is ﬁled, unless the spouses are separated and a joint petition is not
               ﬁled.)

                                                                                                            TERMS OF
                     NAME AND ADDRESS                        DATE OF                                        ASSIGNMENT
                     OF ASSIGNEE                             ASSIGNMENT                                     OR SETTLEMENT




N     e       b. List allproperty which has been in the hands ofa custodian, receiver, or court-appointed ofﬁcial within one year
              immediately preceding the commencement ofthis case. (Married debtors ﬁling under chapter 12 or chapter 13 must
              include information conceming property of either or both spouses whether or not ajoint petition is ﬁled, unless the
              spouses are separated and ajoint petition is not ﬁled.)

                                                  NAME AND LOCATION                                                   DESCRIPTION
                     NAME AND ADDRESS             OF COURT                                       DATE OF              AND VALUE
                     OF CU STODIAN                CASE TITLE & NUl\/IBER                         ORDER                Of PROPERTY




              7.     Gifts

Noe           List all gifts or charitable contributions made within one year immediately preceding the commencement of this case

              except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
              and charitable contributions aggregating less than $100 per recipient. (Married debtors ﬁling under chapter I2 or
              chapter I3 must include gifts or contributions by either or both spouses whether or not ajoint petition is ﬁled, unless
              the spouses are separated and ajoint petition is not ﬁled.)


              NAME AND ADDRESS                    RELATIONSHIP                                                        DESCRIPTION
              OF PERSON                           TO DEBTOR,                     DATE                                 AND VALUE
              OR ORGANIZATION                     IF   ANY                       OF GIFT                              OF GIFT




              8.     Losses

    I18   ‘
              List all losses from ﬁre, theft, other casualty or gambling within one year immediately preceding the commencement
              ofthis case or since the commencement of this case. (Married debtors ﬁling under chapter 12 or chapter 13 must
              include losses by either or both spouses whether or not ajoint petition is ﬁled, unless the spouses are separated and a
              joint petition is not ﬁled.)


              DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF
              AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                                     DATE
              PROPERTY                       BY INSURANCE, GIVE PARTICULARS                                           OF LOSS




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                                                                                                                                                  5


               9.     Payments        related to debt counseling or    bankruptcy

    Noni
               List allpayments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
               consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
               within one year immediately preceding the            commencement of this    case.


                                                                     DATE OF PAYMENT,                     AMOUNT OF MONEY OR
               NAME AND ADDRESS                                      NAME OF PAYER IF                     DESCRIPTION AND
               OF PAYEE                                              OTHER THAN DEBTOR                    VALUE OF PROPERTY




               IO.    Other transfers
    Nre
                a.    List  other property, other than property transferred in the ordinary course ofthe business or ﬁnancial affairs of
                             all

               the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
               this case, (Married debtors ﬁling under chapter 12 or chapter 13 must include transfers by either or both spouses
               whether or not ajoint petition       is   ﬁled, unless the spouses are separated and ajoint petition   is   not ﬁled.)


               NAME AND ADDRESS OF 'l‘RANSFERIiE,                                             DESCRIBE PROPERTY
               RIZLATIONSIIIP           TO DEBTOR                                             TRANSFERRED AND
                                                                               DATIL          V/\l,llIi   RECIZIVED



    N on
               b.    List   all   property transferred by the debtor within ten years immediately preceding the       commencement of this case
               to a self~settled trust or similar     device of which the debtor is a beneﬁciary.

               NAME or rnusr OR OTHER                                DATE(S) or               AMOUNT OF MONEY OR DESCRIPTION
               DEVICE                                                TRANSFER(S)              AND VALUE OF PROPERTY OR DEBTOR‘S
                                                                                              INTEREST IN PROPERTY




               ll.   Closed ﬁnancial accounts

    N      e   List all ﬁnancial accounts  and instruments held in the name ofthe debtor or for the beneﬁt ofthe debtor which were
               closed, sold, or othem/ise transferred within one year immediately preceding the commencement of this case. Include
               checking, savings, or other ﬁnancial accounts, certiﬁcates of deposit, or other instruments; shares and share accounts
               held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other ﬁnancial
               institutions. (Married debtors ﬁling under chapter l2 or chapter 13 must include infonnation concerning accounts or
               instruments held by or for either or both spouses whether or not ajoint petition is ﬁled, unless the spouses are
               separated and a joint petition is not ﬁled.)

                                                          TYPE OF ACCOUNT, LAST FOUR                              AMOUNT AND
               NAME AND ADDRESS                           DIGITS OF ACCOUNT NUMBER,                               DATE OF SALE
               OF INSTITUTION                             AND AMOUNT OF FINAL BALANCE                             OR CLOSING




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             12.    Safe deposit boxes
                                                                                                                          valuables
Nmlj         List each safe deposit or otherbox or depository in which the debtor has or had securities, cash, or other
                                           preceding   the commencement   of this case.  (Mairied debtors ﬁling under chapter l2 or
             within one year immediately
             chapter 13 must include boxes or depositories of either or both spouses
                                                                                       whether or not a joint petition is ﬁled, unless
             the spouses are separated and a joint petition is not ﬁled.)


             NAME AND ADDRESS                           NAMES AND ADDRESSES                        DESCRIPTION          DATE OF TRANSFER
             OF BANK OR                                 OF THOSE WITH ACCESS                       OF                   OR SURRENDER,
                                                        TO BOX OR DEPOSITORY                       CONTENTS             IF ANY
             OTHER DEPOSITORY




             13.    Setoffs

                                                                         against a debt or deposit of the debtor within           90 days preceding
Non          List    all setoffs made by any creditor, including a bank,
                    commencement of this case. (Mairied debtors ﬁling under chapter 12 or chapter I3 must
                                                                                                                 include           information
             the
             conceniing either or both spouses whether             or not ajoint petition   is   ﬁled, unless the spouses are separated and ajoint
                                                                                                   "

             petition      is   not   tiled.)


                                                                                     DATE OF                         AMOUNT
             NAME AND ADDRESS OF CREDITOR                                            SETOFF                          OF SETOFI3

                                                                                                                 $



                     14.        Property held for another person

             List    all   property      owned by another person   that the debtor holds or controls.
 0

        ~.



             NAME AND ADDRESS                                 DESCRIPTION AND
             OF OVVNER                                        VALUE OF PROPERTY                                          LOCATION OF PROPERTY




             15.     Prior address of debtor

  O C
                                                                                                  this case, list all premises
             If debtor has        within three years immediately preceding the commencement of
                                      moved
             which the debtor occupied during   that period and vacated prior to the commencement of this case. If a joint petition                  is


             ﬁled, repoit also any separate address of either spouse.




             ADDRESS                                          NAME USED                                    DATES OF OCCUPANCY




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                        I6.     Spouses and Former Spouses

-
    N      e            If the debtor resides or resided in a        community property           state,   commonwealth,   or territory (including Alaska, Arizona,
                        California, Idaho, Louisiana, Nevada,           New
                                                                Mexico, Pueito Rico, Texas, Washington, or Wisconsin) within eight
                   _    years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                        any former spouse          who    resides or resided with the debtor in the         community property   state.


                       NAME

        T      I




                        I7,     EnvironmentalInformation.

                       For the purpose of this question, the following deﬁnitions apply:

                       "Environmental Law" means any federal,               state, or local statute or       regulation regulating pollution, contamination,
                       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
                       or material.

                       "Site"     means any      location, facility, or property    deﬁned under any Environmental Law, whether               or not presently or
                       fonnerly     owned      or operated    by the debtor, including, but not limited to, disposal sites.

                       "I’lazardous       l\/Iaterial"   means anything defined    as   at   liazardous waste, hazardous substance, toxic substance, hazardous
                       material, pollutant, or contaminant or similar teini under an Environmental                    Law.


    N   e              a.   List the                        site for which the debtor has received notice in writing by a govemmental
                                         name and address of every
                       unit that    be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                    it   may
                   \ governmental unit, the date ofthe notice, and, if known, the Environmental Law:

                                SITE NAME                      NAME AND ADDRESS                                 DATE OF               ENVIRONIVIENTAL
                                AND ADDRESS                    OF GOVERNMENTAL UNIT                              NOTICE               LAW



                       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                       of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                SITE NAME                      NAME AND ADDRESS                                 DATE OF          ENVIRONMENTAL
                                AND ADDRESS                    OF GOVERNMENTAL UNIT                             NOTICE           LAW



     one               c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
                       respect to which the debtor is or was a party. Indicate the name and address ofthe govemmental unit that is or was a party
                       to the proceeding, and the docket number.


                                NAME AND ADDRESS                               DOCKET NUMBER                               STATUS OR
                                OF GOVERNMENTAL UNIT                                                                       DISPOSITION



                       18   .   Nature, location and         name of business

     O e               a. Iflhe debtor is an individual, list the names, addresses, taxpayer-identiﬁcation numbers, nature ofthe businesses,
                       and beginning and ending dates of all businesses in which the debtor was an ofﬁcer, director, partner, or managing
                       executive of a corporation, partner in a partnership, sole proprietor, or was self~employed in a trade, profession, or
                       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in




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            which the debtor owned      5 percent or   more of the voting or equity    securities within six      years immediately preceding
            the   commencement of this       case.


                               is a partnership, list the names, addresses, taxpayer-identiﬁcation numbers, nature of the businesses,
                   If the debtor
                   and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                   the voting or equity securities, within six years immediately preceding the             commencement of this      case.


                   If the debtor is a corporation, list the names, addresses, taxpayer-identiﬁcation numbers, nature of the businesses,

                   and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                   the voting or equity securities within six years immediately preceding the commencement of this case.


                                   LAST FOUR DIGITS
                                   or SOCIAL-SECURITY                                                                           BEGINNING AND
                   NAME            on OTHER INDIVIDUAL                  ADDRESS            NATURE or BUSINESS                   ENDING DATES
                                   TAXPAYER-1.D. No.
                                   (lTIN)/   COMPLETE EIN



            b.    Identify any business listed in response to subdivision   a.,   above, that   is   "single asset real estate" as
            deﬁned     in ll U.S.(‘, § 101.


                   NAME                                       ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement ofthis case, any of the following: an
ofﬁcer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, ofa partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either ﬁ1ll- or part~time.


            (An individual or joint debtor should complete this portion of the statement only the debtor is or has been in
business, as   deﬁned above, Within six years immediately preceding the commencement of this case. A debtor who has not been
in   business within those six years should go directly to the signature page.)




            19.    Books, records and ﬁnancial statements

 O e       a. List all bookkeepers and accountants who within two years immediately preceding the ﬁling of this
           bankruptcy case kept or supervised the keeping of books of account and records of the debtor.
       i
                   NAME AND ADDRESS                                                                       DATES SERVICES RENDERED



Non        b. List all ﬁrms or individuals who within two years immediately preceding the ﬁling ofthis bankruptcy
           case have audited the books of account and records, or prepared a ﬁnancial statement of the debtor.

                   NAME                                       ADDRESS                                     DATES SERVICES RENDERED




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                                                                                                                                                                    9

    None            c. List all ﬁrms or individuals who at the time of the commencement ofthis case were in possession of the
                    books of account and records of the debtor. If any of the books of account and records are not available, explain.
I           I




                          NAME                                                                                        ADDRESS
                C///tAIJF<>              4~(uA$~<L~o                                                                /vac-a
                                                                                                                                         ho
                                                                                                                                   /0 9~9~<               $7
                                                                                                                                                           W




                                                                                                        __t,-t_,__#?i;*s>s4/4.?-:,t_,_c_,,_

    None                      ﬁnancial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
                    d. List all
                    ﬁnancial statement was issued by the debtor within two years immediately preceding the commencement of this case.

                                   NAME AND ADDRESS                                                                       DATE ISSUED




                    20. Inventories


                    a. List the dates of the last two inventories taken of your property, the name of the person                who   supervised the

    jﬁ              taking of each inventory, and the dollar amount and basis of each inventory,

                                                                                                                           DOLLAR AMOUNT
                                                                                                                          OF INVENTORY
                                   l>,t\.TE   OF INVENTORY                     ll\"\/ENTORY   SUPERVISOR                  (Specify cost,   trt>_trkot   or other
                                                                                                                          basis)

                                                                                                                  $

                                                                                                                  $

                    b.   List the   name and address ofthe person having possession of the                records of each of the inventories reported
    Esjne
                2   in a., above.


                                                                                                                          NAME AND ADDRESSES
                                                                                                                          OF CUSTODIAN
                                   DATE OF INVENTORY                                                                      OF INVENTORY RECORDS




                          21   .   Current Partners, Officers, Directors and Shareholders

    Non                   a.   If the   debtor   is   a partnership,   list   the nature and percentage of partnership interest of each   member of the
                          partnership.


                          NAME AND ADDRESS                                        NATURE OF INTEREST             PERCENTAGE OF INTEREST




                          b,       If the debtor is a corporation, list all ofﬁcers and directors of the corporation, and each stockholder                who
                          directly or indirectly     owns, controls, or holds 5 percent or more of the voting or equity securities of the
                          corporation.
                                                                                                                 NATURE AND PERCENTAGE
                                   NAME AND ADDRESS                                         TITLE                     OF STOCK OWNERSHIP




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                    22      .   Former partners,    officers, directors   and shareholders                                                          .




 Noni
                   a.   If the debtor is a partnership, list each         member who withdrew from            the partnership within   one year immediately
                   preceding the commencement of this case.

                                NAME                                                   ADDRESS                   DATE OF WITHDRAWAL
         ii




                   b.   Ifthe debtor is a corporation, list all officers or directors whose relationship with the corporation tcnninated
                   within one year immediately preceding the commencement ofthis case.

                                    NAME AND ADDRESS                                          TITLE                       DATE OF TERMINATION




                   23   .       Withdrawals from     a   partnership or distributions by a corporation

No                 lfthe debtor is at partnership or corporation, list all withdrawals or distributions credited or given to an insider,
                   including compensation in any form, bonuses, loans. stock redemptions, options exercised and any other perquisite
                   during one year immediately preceding the commencement ottliis L‘lI'~C.

                                    NAME & ADDRESS                                                                  AMOUNT OF MONEY
                                    OF RECIPIENT,                                  DATE AND PURPOSE                 OR DESCRIPTION
                                    RELATIONSHIP TO DEBTOR                         OF WITHDRAWAL                    AND VALUE OF PROPERTY




                  24.       Tax Consolidation Group.

     6            Ifthe debtor is a corporation, list the name and federal taxpayer-identiﬁcation number ofthe parent corporation of any
                  consolidated group for tax purposes ofwhieh the debtor has been a member at any time within six years
              ‘
                  immediately preceding the commencement ofthe case.

                            NAME OF PARENT CORPORATION                           TAXPAYER-IDENTIFICATION NUMBER (EIN)




                  25.   Pension Funds.

on                Ifthe debtor       is         list the name and federal taxpayer-identiﬁcation number of any pension fund to
                                          not an individual,
                  which the debtor,         as an
                                       employer, has been responsible for contributing at any time within six years immediately
                  preceding the commencement of the case.

                        NAME OF PENSION FUND                              TAXPAYER-IDENTIFICATION                  NUMBER (EIN)



                                                                           >l<   >l'    >t'   >l<   *   >l<




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’
                        [lfeontpleted by an individual or individual                                   and spouse]

                        I   declare under penalty of perjury that I have read the answers contained in the foregoing statement oftinancial
                    affairs       and any attachments thereto and that they are true and correct.


                    Date
                                                            /I}                                                       Signature
                                                      ii“   K   »m‘_‘——AiM—!HM* Wk                I


                                                                                                                      Of D€btOf

                    Date _V__W                __   _______________,_ ________                                         Signatureﬁ                 ___    ___        _A___               __7_>_\__>__”_              _
                                                                                                                      of Joint De or
                                                                                                                      (if any)




                    [If completed        on    bcr/talfofa partner.\‘/up or corporation]


                    1       declare under penalty of perjury that l have read the answers contained in the foregoing statement of ﬁnancial affairs and any attachments
                -

                    thereto and that they are tnte      and correct to the bcst of my knowledge, information and belief.


                    Date       W   _                            ___ __                                                     Signature




                                                                                                                                           Print    Name and      Title




                    [An individual signing on behalf ofa partnership or corporation must indicate position or relationship                                              to debtor.]




                                                                                             ___ continuation          sheets attached

                               Pe/m/tjvfor rnalting ufalre statement.‘ Fine               ofup   to   $500,000 or intprisonment/or up       to   5 years, or   bot/1.   18 U.S C.       152 and 357]




                    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 1]                                                                                            U.S.C. § 110)

      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as deﬁned in l I U4S.C. § 10; (2) I prepared this document for      l


    compensation and have provided the debtor with a copy of this document and the notices and information required under I l U.S.C. §§ l0(b), 1 l()(h),                                          1


    and 342(b); and, (3) ifrules or guidelines have been promulgated pursuant to 11 U.S.C. § lO(h) setting a maximum fee for services chargeable by
                                                                                                                                    I


    bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for ﬁling for a debtor or accepting
    any fee from the debtor, as required by that section.


    Iﬁnted oirﬂfyped Nameiand              Title, if any,         of Bankruptcy Petiwtiaflireparer                                                     gdeial-Security                                 U .S.C_   § llO.)


    lfthe barilcruptcy petition preparer is not                    an     individual, state the       name,   title   any), address, rn1ds0cial—security            number     oft/te ojﬁcer, prir1ci]mi,
    responsible person, 0r partner who signs                       t/1   is   document.




    Address



    X
     Signature of Bankruptcy Petition Preparer
                                                                                   _                   7                                                                              Date

    Names and Social-Security numbers of all                        other individuals       who       prepared or assisted   in   preparing this       document unless the bankruptcy             petition preparer    is

    not an individual:


    If   more than one person prepared               this   document, attach additional signed sheets conforming                        to the   appropriate Official        Form     for   each person

    A bankruptcy petitiun preparer's failure ta comply with the provisions of title                                        II     and the Federal Rules of Bankruptcy Procedure may                           result in
    ﬁnes or imprisonment or both. I8 U.S.C. § I56.




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                  __        I‘




    B   8 (Official         Form      8) (l2/O8)



                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                          "‘
                                                                                    District of Arizona
                                             I           T"




    lnrehé)/(//QR/{"7€                                                                                                                             CaseN0.’QiI3‘bk‘/Q5‘/1;;
                                          D€bI0f                                                                                                              Chapter 7

                            CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
    PART A DBMS S6CUI€Ci by ]31'Op€1'ly Oflhﬁ estate.
                            ——
                                                                                                            (Part   A must befully compleledfor EA CH.debt which             is
    secured by properly of the                      estate.   Attach additional pages ifnecessaijv.)

     Propeity N04                 1
                                                                                                                             '   ‘   ‘




                                                     f                                    7




     Credlitorls                 Name:                                                                       Describe Property Securing Debt:
                                                                                                            RF/1k p/{ap't:'(TY
T
    Q /""*'W~‘§                                    //</3%/W                                                 //ra<>'»>~           U        azivé-’*   $7 [ax
                                                                                                                                                        7          /T4-1   serve;
     Property will be (c/iec/t                     0r1e)I
                                                                                "




          Fl Surrendered                                                     ﬁetained
                   the r)mpei‘ty, l intend
     lti r'etaii1ini_{
                                                                  to (‘i-/W/(   11/ //1/Ix‘!   mm),
           XRC(iCt.‘Ill the pmperty
             U Reafﬁrm the debt
             D         Other. Explain                                        __,_,                                     (for          example, avoid
                            use § 522(1)).
                                                    __                                         M                                                       lien
    using        11



    P1’     61'         iS       (check one);
                       Claimed as exempt                                                              El    Not claimed              as   exempt

    P1'Op€l’ly         NO. 2 (zfnecessmy)
                                                                                                        I




    Credit0r‘s                   Name:                                                                      Describe Property Securing Debt:



    Property will be (check 0ne)I
            U      Sunendered                                                   U    Retained

    If retaining the property,                       I    intend to (check   [ll    least OH€)I
            Cl     Redeem                 the    propeny
            El     Reafﬁnn                 the debt
            U      Other, Explain                  _             _                   __                     _         (for       example, avoid lien
    using     ll        U.S.C.            § 522(t)).



    Property           iS    {check       0/ie)I

           U      Claimed as exempt                                                                C]       Not claimed          as       exempt




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     B   2   (Ofﬁcial            Form             8) (12/08)                                                                                                                                         Page   2

     P/§R'T                B - Personal
                              pl'Op€fty SUbj€CI {O llI16XplI€d 163568. (All three columns 0fPa/'t
                                                                                                  B must be completedfor
     each unexpired lease. Attach additional pages necessary.)


         Property N0.                         1




         Less0r’s                    Name:                                                                           Describe Leased Property:                  Lease will be Assumed pursuant
                                                                                                                                                                toll U.S.C. § 365(p)(2):
                                                                                                                                                                U YES                 U NO
      Propertyﬁo. Z                               (if/tecessa/31)‘


      Lessor’s                   Name:                                                                               Describe Leased Property:                  Lease will be Assumed pursuant
                                                                                                                                                                to ll U.S.C. § 365(p)(2):
                                                                                                                                                                El   YES        El       NO
     Property No. 3 (if/zecessary)

     laess0r’s                   Name:                                                                               Describe Leased Properly:                  Lease will be Assumed pursuant
                                                                                                                                                                to llU.S.C. § 365(p)(2):
t    ,__      ,   _   __, ____   c   _   .   ____    _   in    __   _   _   .   .   if   .i___ __,__,___.,M_,___a_                i      A   _,   , u   _l,,.
                                                                                                                                                                Fl   YES            Fl   NO
                      continuation sheets attached                                                   (iftmy)


     declare under penalty of perjury that the above indicates
ll
                                                                 my intention as                                                                                           to   any property of my
estate securing  :1 debt and/or personal
                                         property subject to an unexpire d lease.
                                                                                                                                                                                               _




                  ale»                                                                                                 ature of Debtot       ﬁll/J
                                                                                                               Signature of Joint Debtor




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